              Case 3:17-cv-01314-SRU Document 48 Filed 10/16/19 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

 OZ ELS MASTER FUND, LTD., OZ
 SPECIAL FUNDING (OZMD), L.P., OZ                       No. 3:17-cv-01314 (SRU)
 ENHANCED MASTER FUND, LTD.,
 GORDEL CAPITAL LIMITED, OZ
 GLOBAL EQUITY OPPORTUNITIES
 MASTER FUND, LTD. (f/k/a OZ EQUITY
 LONG-SHORT MASTER FUND, LTD.),
 OZ MASTER FUND, LTD., and OZ
 GLOBAL SPECIAL INVESTMENTS
 MASTER FUND, L.P.,

         Plaintiffs,

                  v.

 TEVA PHARMACEUTICAL INDUSTRIES
 LIMITED, EREZ VIGODMAN, EYAL
 DESHEH, YAACOV “KOBI” ALTMAN, and
 SIGURDUR OLAFSSON,
                                                        October 16, 2019
         Defendants.

                                     JOINT STATUS REPORT

         Pursuant to this Court’s May 10, 2018 Order (ECF No. 42), Plaintiffs OZ ELS Master

 Fund, Ltd., OZ Special Funding (OZMD), L.P., OZ Enhanced Master Fund, Ltd., Gordel Capital

 Limited, OZ Global Equity Opportunities Master Fund, Ltd., (f/k/a OZ Equity Long-Short

 Master Fund, Ltd.), OZ Master Fund, Ltd., and OZ Global Special Investments Master Fund,

 L.P. and Defendants Teva Pharmaceutical Industries Ltd., Erez Vigodman, Eyal Desheh, Yaacov

 “Kobi” Altman, and Sigurdur Olafsson (collectively, the “Parties”) jointly submit this status

 report to the Court. The Parties state as follows:

         1.       This Action and 16 other direct and derivative actions pending in this District (the

 “Related Actions”) have been deemed by the Court to be related to the pending putative class




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            Case 3:17-cv-01314-SRU Document 48 Filed 10/16/19 Page 2 of 3



action styled Ontario Teachers’ Pension Plan Board, et al. v. Teva Pharmaceutical Industries

Ltd., et al., Civil Action No. 3:17-cv-00558 (SRU) (the “Ontario Action”).

       2.       Per this Court’s May 10, 2018 Order (ECF No. 42), this Action was stayed

pending a decision on the motions to dismiss filed by the defendants in the Ontario Action. The

Order required the Parties to meet and confer within twenty-one (21) days of that decision, and

propose to the Court a schedule for further proceedings or a further deferment of or motion to

stay proceedings. Id.

       3.       On September 25, 2019, this Court issued its order on the motions to dismiss in

the Ontario Action. (Ontario, ECF No. 283 (the “September 25 Order”).)

       4.       In this Action and the other Related Actions, the parties are currently engaged in

meet and confer discussions in an effort to reach an agreement respecting the coordination and

scheduling of further proceedings in all cases that will enable this Court and the parties to

manage the litigations in an efficient and streamlined manner.

       5.       The parties in the Ontario Action have conducted the first Rule 26(f) parties’

planning conference, and are continuing to confer concerning the items in the Rule 26(f) report

to be submitted to the Court.

       6.       With the Court’s permission, the Parties will submit another joint status update,

including a proposal addressing further proceedings in this Action, by the later of November 6,

2019 or two weeks after this Court enters a scheduling order in the Ontario Action.




                                                2
        Case 3:17-cv-01314-SRU Document 48 Filed 10/16/19 Page 3 of 3



                                               Respectfully submitted,

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                                           3
